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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                 4:07CR3079
                                          )
             v.                           )
                                          )
JOSE ROMO-CORRALES,                       )      MEMORANDUM AND ORDER
FRANCISCO GALVAN-VALDEZ,                  )
                                          )
                    Defendants.           )

      Defendant Jose Romo-Corrales has moved to suppress all evidence obtained
during the search of a residence located at 315 East Dodge Street, Grand Island,
Nebraska. (Filing No. 45). An evidentiary hearing on this motion is scheduled to
be held before Magistrate Judge Piester on February 26, 2008.

       Counsel for defendant Francisco Galvan-Valdez has been preparing a motion
to suppress, however these efforts have been delayed due to illness. Defendant
Galvan-Valdez has therefore filed an unopposed motion to extend his deadline for
filing pretrial motions, and asks that the deadline be extended to early April. (Filing
No. 48).

       Counsel for the government has advised the court that the evidence and issues
underlying any suppression motion which may be filed by defendant Galvan-Valdez
will be substantially the same as those currently raised in the suppression motion filed
by defendant Jose Romo-Corrales. The government has therefore orally moved to
continue the suppression hearing set for February 26, 2008 so that only one
evidentiary hearing can be held on the defendants’ filed and anticipated motions to
suppress. Counsel for defendant Romo-Corrales does not oppose continuing the
suppression hearing from February 26, 2008 to late-April 2008.
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    IT IS ORDERED:

    1.    The evidentiary hearing on defendant Jose Romo-Corrales’ motion to
          suppress, (filing no. 45), is continued, and the hearing will be held
          before Magistrate Judge Piester on April 22, 2008 beginning at 1:30
          p.m.

    2.    The motion for enlargement of time filed by the defendant
          Galvan-Valdez, (filing no. 48), is granted. Pretrial motions on behalf of
          defendant Galvan-Valdez shall be filed on or before April 7, 2008.

    3.    The court further finds that the ends of justice will be served by granting
          defendant Galvan-Valdez’ motion to continue the deadline for filing
          pretrial motions, and outweigh the interests of the public and the
          defendants in a speedy trial, and the additional time arising as a result
          of the granting of the motion, the time between today’s date and April
          7, 2008, shall be deemed excludable time in any computation of time
          under the requirements of the Speedy Trial Act, for the reason that
          defendant Galvan-Valdez needs additional time to adequately prepare
          the case, taking into consideration due diligence of counsel, the novelty
          and complexity of the case, and the fact that the failure to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(8)(A) & (B).

    DATED this 21st day of February, 2008.

                                     BY THE COURT:

                                     s/Richard G. Kopf
                                     United States District Judge




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